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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                WAYCROSS DIVISION

 BRANTLEY COUNTY DEVELOPMENT
 PARTNERS, LLC,

               Plaintiff,
                                                    CIVIL ACTION FILE
 V.                                                 NO. 5:19-CV-00109-LGW-BWC

 BRANTLEY COUNTY, GEORGIA by and
 through its CHAIRMAN and MEMBERS OF
 THE BRANTLEY COUNTY BOARD OF
 COMMISSIONERS; CHRIS “SKIPPER”
 HARRIS; RANDY DAVIDSON; BRIAN
 HENDRIX; JESSE MOBLEY and RAY
 GRIFFIN, all in their individual and official
 capacities as Commissioners,

               Defendants.


                                     CLERK'S EXTENSION ORDER

       Upon consent of the Parties, Defendants’ request pursuant to Southern District of Georgia

Local Rule 6.1 for an extension of seven (7) days to file a response to Plaintiff’s Motion for

Summary Judgment (Doc. 141) is hereby GRANTED. Defendants shall file their responses to this

motion no later than until November 5, 2021.

       SO ORDERED this _____
                        28th day of ________________,
                                     October          2021.



                                           JOHN E. TRIPLETT, CLERK OF COURT
                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF GEORGIA


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                                            DEPUTY CLERK
